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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

FIFTH THIRD BANK, NATIONAL           )
ASSOCIATION, f/k/a Fifth Third Bank, )
                                     )
       Plaintiff,                    )
                                     )
v.                                   )                CIVIL ACTION
                                     )
RECLEIM LLC, a Delaware limited      )                NO. _________________
liability company, RECLEIM NOVA,     )
LLC, a Delaware limited liability    )
company, RECLEIM LOGISTICS,          )
LLC, a Delaware limited liability    )
company, RECLEIM OH, LLC, a          )
Delaware limited liability company,  )
RECLEIM PA, LLC, a Delaware          )
limited liability company, RECLEIM   )
SC LLC, a Delaware limited liability )
company, PEACHTREE                   )
INVESTMENT SOLUTIONS, LLC, a         )
Georgia limited liability company,   )
JON STEPHEN BUSH, individually,      )
and DWAYNE PETERSON DAVIS,           )
individually,                        )
                                     )
             Defendants.             )




 COMPLAINT FOR BREACH OF PROMISSORY NOTES, GUARANTIES
          AND FOR APPOINTMENT OF A RECEIVER




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                                 SUMMARY OF CASE
          Recleim, LLC and its related companies, Recleim Nova, LLC, Recleim

Logistics, LLC, Recleim OH, LLC, Recleim PA, LLC, and Recleim SC LLC,

(each, a “Borrower” and collectively the “Borrowers” or the “Company”) and

Peachtree Investment Solutions, LLC, Jon Stephen Bush and Dwayne Peterson

Davis (each, along with Recleim OH, LLC, Recleim PA, LLC, and Recleim SC

LLC, a “Guarantor” and collectively, the “Guarantors,” and Borrowers and

Guarantors, collectively, the “Defendants”) provide appliance recycling,

collection, transportation, and resource recovery services in North America with

recycling facilities in Graniteville, South Carolina, Philadelphia, Pennsylvania, and

Lima, Ohio.

          Defendants are in default on approximately $13 million of indebtedness due

and owing to their primary lender Fifth Third Bank, National Association, f/k/a

Fifth Third Bank (“Fifth Third” or “Plaintiff”), the plaintiff in this action. Fifth

Third holds a first lien on substantially all of the Company’s operating assets. The

Company is also in default on other financial obligations, including the failure to

pay the lease obligations as and when due. The Declaration of Cynthia Clark (the

“Clark Declaration”), being filed substantially cotemporaneous herewith,




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authenticates and attaches many of the documents referred to herein and is

incorporated herein by reference in its entirety as if fully set forth herein.

          Fifth Third has given Borrowers more than ample opportunity to manage

their operations but now seeks the appointment of a receiver to stave off further

diminution in value and loss of the business as a going concern. Since December,

2019, Fifth Third has made concessions, granted Defendants financial

accommodations and has otherwise agreed to forbear from exercising its rights and

remedies under its loan documents with Defendants in order to provide Defendants

with more than a year to restructure their business operations and pay their debts.

          Fifth Third has now determined that the best path forward, for itself and the

Company is to seek appointment of a receiver in order to keep the Company

operating and to maximize the value of the collateral. This is also one of Fifth

Third’s express contractual remedies upon default.            This relief permits the

Company’s operations to continue without interruption and provides a pathway for

necessary cash infusions into the operations. Based on non-payment of rent when

due, the Company has received default and eviction notices as to its Pennsylvania

facility.      Further, as a result of its financial distress, the Company has had

insurance lapses and/or has otherwise failed to maintain appropriate insurance at

all times. Numerous other creditors and third-parties have also obtained or are in


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the process of obtaining substantial judgments by default against the Company.

The Company is generally not even appearing, let alone defending, these lawsuits.1

          The current owners are unable and/or unwilling to make the necessary cash

infusions to adequately fund the Company as a going concern. As such, time is of

the essence. Given the current management and defaults, Fifth Third is currently

unwilling to advance funds to the Company, but would be willing to advance funds

to a court-appointed receiver managing the operations.

          Accordingly, Fifth Third seeks the appointment of Sandeep Gupta,

Managing Partner of Novo Advisers as receiver over the Company’s property, all

or substantially all of which is Fifth Third’s Collateral, pursuant to the terms set

forth in the proposed order attached to the Motion for Appointment of Receiver

filed substantially contemporaneously herewith.

                                   INTRODUCTION

          Plaintiff, Fifth Third, by and through its undersigned counsel, brings this

complaint seeking the payment of contractual debt and for the appointment of a

          1
         A judgment and lien search reveals that as of January 7, 2021, there have
been at least two default judgments entered against Recleim, LLC and Recleim,
Nova, LLC, as well as seven pending litigation matters against Recleim, LLC and
its related companies. In addition, on January 2, 2021, a class action lawsuit was
filed in the Northern District of Georgia against guarantors Peachtree Investment
Solutions, LLC, Jon Stephen Bush and Dwayne Peterson Davis. See Case No.
2021-cv-00002.


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receiver (this "Complaint") against Defendants. As support for this Complaint,

together with Fifth Third’s Submission of Documentary Evidence ("Evidentiary

Submission"), filed substantially contemporaneously herewith, Fifth Third states

as follows:

                        PARTIES, JURISDICTION, AND VENUE
              1.   Plaintiff Fifth Third is a national banking association that has its

 principal place of business in Cincinnati, Ohio.

              2.   Defendant Recleim, LLC (“Recleim”) is a limited liability company

 organized under the laws of the State of Delaware with its principal place of

 business in Atlanta, Georgia.           To the best of Plaintiff’s and undersigned

 knowledge, information, and belief, formed after an inquiry reasonable under the

 circumstances, the evidentiary support indicates that Recleim’s membership

 consists of the following:2

          (a)      ETIG, LLC: a limited liability company organized under the laws of

                   the State of Delaware. To the best of Plaintiff’s and undersigned


          2
         Despite a review of the information available to Fifth Third in its files as
well as the public information available, Fifth Third was unable to ascertain the
members and citizenships of every member of Recleim, LLC. However, none of
the available information indicated that the members were citizens of Ohio. Thus,
Plaintiff alleges diversity jurisdiction on this basis. See, e,g., Lincoln Ben. Life Co.,
v. AEI Life, LLC, 800 F.3d 99, 107 (3d Cir. 2015).


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                  knowledge, information, and belief, formed after an inquiry

                  reasonable under the circumstances, the evidentiary support indicates

                  that ETIG, LLC’s membership consists of Peachtree Investment

                  Solutions, LLC a limited liability company organized under the laws

                  of the State of Georgia. To the best of Plaintiff’s and undersigned

                  knowledge, information, and belief, formed after an inquiry

                  reasonable under the circumstances, the evidentiary support indicates

                  that Peachtree Investment Solutions, LLC’s membership consists of

                  Dwayne Peterson Davis, an individual and citizen of Georgia and Jon

                  Stephen Bush, an individual and citizen of Georgia.

          (b)     Peachtree Investment Solutions, LLC: a limited liability company

                  organized under the laws of the State of Georgia. To the best of

                  Plaintiff’s and undersigned knowledge, information, and belief,

                  formed after an inquiry reasonable under the circumstances, the

                  evidentiary support indicates that Peachtree Investment Solutions,

                  LLC’s membership consists of Dwayne Peterson Davis, an individual

                  and citizen of Georgia, and Jon Stephen Bush, an individual and

                  citizen of Georgia.




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          (c)     SC Launch, Inc.: a corporation organized under the laws of the State

                  of South Carolina with its principal place of business in Columbia,

                  South Carolina.

          (d)     Emerald Acquisitions 2015, LLC:         a limited liability company

                  organized under the laws of the State of Georgia. To the best of

                  Plaintiff’s and undersigned’s knowledge, information, and belief,

                  formed after an inquiry reasonable under the circumstances, the

                  evidentiary support indicates that no member of Emerald Acquisitions

                  2015, LLC is a citizen of Ohio or a non-citizen.

          (e)     Spring Creek Capital, LLC: a limited liability company organized

                  under the laws of the State of Delaware. To the best of Plaintiff’s and

                  undersigned’s knowledge, information, and belief, formed after an

                  inquiry reasonable under the circumstances, the evidentiary support

                  indicates that no member of Spring Creek Capital, LLC is a citizen of

                  Ohio or a non-citizen.

          (f)     Invite Investments II, LLC: a limited liability company organized

                  under the laws of the State of Texas. To the best of Plaintiff’s and

                  undersigned’s knowledge, information, and belief, formed after an

                  inquiry reasonable under the circumstances, the evidentiary support


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                  indicates that no member of Invite Investments II, LLC is a citizen of

                  Ohio or a non-citizen.

          (g)     Alba Ventures, LLC: a limited liability company organized under the

                  laws of the State of Delaware.       To the best of Plaintiff’s and

                  undersigned’s knowledge, information, and belief, formed after an

                  inquiry reasonable under the circumstances, the evidentiary support

                  indicates that no member of Alba Ventures, LLC is a citizen of Ohio

                  or a non-citizen.

          (h)     Regional Capital Investments, LLC: a limited liability company

                  organized under the laws of the State of Georgia. To the best of

                  Plaintiff’s and undersigned’s knowledge, information, and belief,

                  formed after an inquiry reasonable under the circumstances, the

                  evidentiary support indicates that no member of Regional Capital

                  Investments, LLC is a citizen of Ohio or a non-citizen.

          (i)     Jaybird Investments, LLC: a limited liability company organized

                  under the laws of the State of Georgia. To the best of Plaintiff’s and

                  undersigned’s knowledge, information, and belief, formed after an

                  inquiry reasonable under the circumstances, the evidentiary support




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                  indicates that no member of Jaybird Investments, LLC is a citizen of

                  Ohio or a non-citizen.

          (j)     Spring Ventures 1, LLC: a limited liability company organized under

                  the laws of the State of South Carolina. To the best of Plaintiff’s and

                  undersigned’s knowledge, information, and belief, formed after an

                  inquiry reasonable under the circumstances, the evidentiary support

                  indicates that no member of Spring Ventures 1, LLC is a citizen of

                  Ohio or a non-citizen.

          (k)     Harmony Analytics, LLC: a limited liability company organized

                  under the laws of the State of a Delaware. To the best of Plaintiff’s

                  and undersigned’s knowledge, information, and belief, formed after

                  an inquiry reasonable under the circumstances, the evidentiary support

                  indicates that no member of Harmony Analytics, LLC is a citizen of

                  Ohio or a non-citizen.

          (l)     John G. Alston, Sr.: an individual and citizen of the State of Georgia.

          (m)     John Goddard Alston, Jr.: an individual and citizen of the State of

                  Georgia.

          (n)     Adam G. Kauffman: an individual and citizen of the State of Georgia.

          (o)     Gary A. Kauffman: an individual and citizen of the State of Florida.


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          (p)      Daniel T. McFarland:      an individual and citizen of the State of

                   Georgia.

          (q)      Haresh T. Tharoni: an individual and citizen of the State of Florida.

          (r)      Brad Dehond: an individual and citizen of the State of Illinois.

          (s)      Edith McDonnell: an individual and citizen of the State of North

                   Carolina.

          (t)      Jennifer Alston Euart:    an individual and citizen of the State of

                   Georgia.

          (u)      Steve Roy: an individual and citizen of the State of Alabama.

              3.   Defendant Recleim Nova, LLC (“Recleim Nova”) is a limited

 liability company organized under the laws of the State of Delaware with its

 principal place of business in Atlanta, Georgia. To the best of Plaintiff’s and

 undersigned knowledge, information, and belief, formed after an inquiry

 reasonable under the circumstances, the evidentiary support indicates that Recleim

 Nova’s sole member is Recleim, LLC. As set forth in paragraph 2 above, to the

 best of Plaintiff’s and undersigned’s knowledge, information, and belief, formed

 after an inquiry reasonable under the circumstances, the evidentiary support

 indicates that no member of Recleim, LLC is a citizen of Ohio or a non-citizen.




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              4.   Defendant Recleim Logistics, LLC (“Recleim Logistics”) is a limited

 liability company organized under the laws of the State of Delaware with its

 principal place of business in business in Atlanta, Georgia.         To the best of

 Plaintiff’s and undersigned knowledge, information, and belief, formed after an

 inquiry reasonable under the circumstances, the evidentiary support indicates that

 Recleim Logistics’ sole member is Recleim, LLC. As set forth in paragraph 2

 above, to the best of Plaintiff’s and undersigned’s knowledge, information, and

 belief, formed after an inquiry reasonable under the circumstances, the evidentiary

 support indicates that no member of Recleim, LLC is a citizen of Ohio or a non-

 citizen.

              5.   Defendant Recleim OH, LLC (“Recleim OH”) is a limited liability

 company organized under the laws of the State of Delaware with its principal

 place of business in business in Atlanta, Georgia. To the best of Plaintiff’s and

 undersigned knowledge, information, and belief, formed after an inquiry

 reasonable under the circumstances, the evidentiary support indicates that Recleim

 OH’s sole member is Recleim, LLC. As set forth in paragraph 2 above, to the best

 of Plaintiff’s and undersigned’s knowledge, information, and belief, formed after

 an inquiry reasonable under the circumstances, the evidentiary support indicates

 that no member of Recleim, LLC is a citizen of Ohio or a non-citizen.


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              6.   Defendant Recleim PA, LLC (“Recleim PA”) is a limited liability

 company organized under the laws of the State of Delaware with its principal

 place of business in Atlanta, Georgia. To the best of Plaintiff’s and undersigned

 knowledge, information, and belief, formed after an inquiry reasonable under the

 circumstances, the evidentiary support indicates that Recleim PA’s sole member is

 Recleim, LLC. As set forth in paragraph 2 above, to the best of Plaintiff’s and

 undersigned’s knowledge, information, and belief, formed after an inquiry

 reasonable under the circumstances, the evidentiary support indicates that no

 member of Recleim, LLC is a citizen of Ohio or a non-citizen.

              7.   Defendant Recleim SC LLC (“Recleim SC”) is a limited liability

 company organized under the laws of the State of Delaware with its principal

 place of business in Atlanta, Georgia. To the best of Plaintiff’s and undersigned

 knowledge, information, and belief, formed after an inquiry reasonable under the

 circumstances, the evidentiary support indicates that Recleim SC’s membership

 consists of the following:

          (a)      Recleim, LLC: as set forth in paragraph 2 above, to the best of

                   Plaintiff’s and undersigned’s knowledge, information, and belief,

                   formed after an inquiry reasonable under the circumstances, the




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                   evidentiary support indicates that no member of Recleim, LLC is a

                   citizen of Ohio or a non-citizen.

              (b) G&R Initiatives, LLC: a limited liability company organized under the

                   laws of the State of Georgia. To the best of Plaintiff’s and

                   undersigned’s knowledge, information, and belief, formed after an

                   inquiry reasonable under the circumstances, the evidentiary support

                   indicates that no member of G&R Initiatives, LLC is a citizen of Ohio

                   or a non-citizen.

          8.       Defendant Peachtree Investment Solutions, LLC (“Peachtree

Investment”) is a limited liability company organized under the laws of the State

of Georgia with its principal place of business in Atlanta, Georgia. To the best of

Plaintiff’s and undersigned knowledge, information, and belief, formed after an

inquiry reasonable under the circumstances, the evidentiary support indicates that

Peachtree Investments members consists of Dwayne Peterson Davis, an individual

and citizen of Georgia and Jon Stephen Bush, an individual and citizen of Georgia.

              9.   Defendant Jon Stephen Bush (“Bush”) is an individual and citizen of

 the State of Georgia.

              10. Defendant Dwayne Peterson Davis (“Davis”) is an individual and

 citizen of Georgia is an individual and citizen of the State of Georgia.


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              11. The amount in controversy, exclusive of interest and costs, between

 Fifth Third and each of the Defendants exceeds $75,000.

              12. This Court has original jurisdiction of this case pursuant to 28 U.S.C.

 § 1332.

              13. Venue in this judicial district is proper pursuant to 28 U.S.C.

 § 1391(b)(2).

                                FACTUAL ALLEGATIONS

                   I.     THE COMPANY’S BUSINESS OPERATIONS

              14. The Company provides appliance recycling, collection, transportation,

 and resource recovery services in North America. It recycles commodity

 components in the appliances; isolates and destroys onsite refrigerants and

 greenhouse gases; and de-manufactures refrigerators, freezers, air-conditioning

 units, dehumidifiers, vending machines, HVAC systems, and other household

 appliances and related electronics. The company also offers reverse logistics,

 trucking, real time tracking, delivery, and utility program services. In addition, it

 provides transportation of appliances from households and retailers to collection

 and consolidation sites; and from there to recycling plant locations.

              15. The Company’s services include closed-loop and small pellet

 recycling; re-using materials; filling out legal paperwork; handling and conversion



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 of ozone-depleting substances; disposing hazardous chemicals; recovering

 plastics, aluminum, copper, steel, and pelletized foam; and recovering and

 reclaiming refrigerants and foam-blowing agents. It serves households, original

 equipment manufacturers, and retailers.

              16. The Company was incorporated in 2011 and is based in Atlanta,

 Georgia with its headquarters located at 34 Old Ivy Rd, Suite 200, Atlanta, GA

 30342. It also operates additional recycling facilities in Graniteville, South

 Carolina; Philadelphia, Pennsylvania3 and Lima, Ohio.

              17. Its principals are Defendants Jon Stephen Bush and Dwayne Peterson

 Davis, who reside and work in the Atlanta metropolitan area.

                      II. THE COMPANY’S FINANCIAL DISTRESS

              18. The Company began its banking relationship with Fifth Third in 2018,

 and since 2019 has been in substantial financial and covenant default to Fifth

 Third. The Company has not made a regularly scheduled payment to Fifth Third

 since December, 2019. As shown below, the Company’s finances have recently

 worsened.

          3
        Upon information and belief, the landlord for the property located in
Philadelphia, Pennsylvania, Delaware Avenue, LLC, has evicted Recleim PA, LLC
from that facility. See (i) Case No. LT-20-2-19-5300 Philadelphia Municipal
Court, First Judicial District of Pennsylvania, and (ii) Case No. LT-20-2-19-5301
Philadelphia Municipal Court, First Judicial District of Pennsylvania.


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              19. With regard to its assets, the Company has made few attempts to

 monetize its assets, has failed to make payment of rent when due, and otherwise

 allowed its insurance to lapse.

              20. The Company has made a series of bad business decisions. Its major

 problem is that it makes investments into failing operations, throwing good money

 at bad situations. It is unwilling or unable to make the necessary changes to

 operate as a profitable business. This continuous failure has immediate

 consequences.

              21. During the Company’s fiscal year 2019 and most of 2020, Fifth Third

 waited while the Company was supposed to implement various cost saving and

 revenue growing projects. Despite giving the Company this time, the Company

 failed to successfully execute on these opportunities.

              22. Based upon information available to Fifth Third provided by the

 Company, the Company has in excess of $6,400,000.00 in net operating losses in

 2019 and $10,600,000.00 in net operating losses in 2020.

              23. Based upon information available to Fifth Third provided by the

 Company, the Company failed to timely file and otherwise pay payrolls taxes in

 2020 in an amount in excess of $770,000.00.




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                   III. THE COMPANY’S FINANCIAL OBLIGATIONS
                                 TO FIFTH THIRD

A.        Summary of Indebtedness

              24. Fifth Third began its financial relationship with the Company in 2018.

 Fifth Third has perfected security interest in almost all of the Company’s assets as

 described in further detail below. In connection with this financial relationship,

 from time to time, Fifth Third has made certain revolving and term loans to

 Borrowers (collectively, the “Loans”), as further described below.

              25. Recleim is indebted to Fifth Third Bank on a revolving loan in the

 maximum principal amount of $5,000,000.00 as evidenced by that certain Loan

 Agreement in favor of Fifth Third Bank, as amended by that certain First Loan

 Modification Agreement dated April 29, 2019 (the “Revolving Loan

 Agreement”).

              26. The Borrowers are also indebted to Fifth Third Bank pursuant to

 several term loans, as follows: a term loan, as amended, modified, restated or

 supplemented, in the maximum principal amount of $1,210,377.29 executed on or

 about December 19, 2018 (the “First December 19 Term Loan”); a term loan, as

 amended, modified, restated or supplemented, in the maximum principal amount

 of $2,644,067.29 executed on or about December 19, 2018 (the “Second

 December 19 Term Loan”); and a term loan, as amended, modified, restated or

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 supplemented, in the maximum principal amount of $6,347,824.00 executed on or

 about December 19, 2018 (the “Third December 19 Term Loan”).

B.        The Revolving Loan

              27. On or about December 20, 2018, Recleim executed and delivered the

 Revolving Loan Agreement in the maximum principal amount of $5,000,000.00,

 as amended by that certain First Loan Modification Agreement dated April 29,

 2019. Evidentiary Submission, Exs. 1 and 2.

              28. To evidence the Revolving Loan Agreement, on or about December

 20, 2018, Recleim executed that certain Revolving Note payable by Recleim to

 the order of Fifth Third in the maximum principal amount of $5,000,000 (the

 “Revolving Note”). Evidentiary Submission, Ex. 3.

              29. The Revolving Note is secured by that certain Security Agreement

 dated December 20, 2018 (with any and all amendments or modifications,

 hereinafter referred to as the "Revolving Security Agreement," and together

 with the Revolving Loan Agreement and Revolving Note, collectively, the

 “Revolving Loan Documents”) which grants Lender a first position security

 interest and lien to all of Recleim's accounts, inventory, equipment, general

 intangibles, investment property, instruments, chattel paper, electronic chattel

 paper, documents, securities, moneys, cash, letters of credit, letter of credit rights,


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 promissory notes, warrants, dividends, distributions, contracts, agreements,

 contract rights, all assets and personal property, fixtures, goods, farm products,

 supporting obligations, software, commercial tort claims, minerals, standing

 timber, and growing crops together with all proceeds and product thereof (as more

 particularly described in the Security Agreement, the "December Personal

 Property Collateral"). Evidentiary Submission, Ex. 4.

 C.           The Term Loans

              30. On or about May 3, 2018, Recleim, Recleim Nova, and Recleim

 Logistics executed and delivered that certain Master Loan and Security

 Agreement, which governs the Term Notes, defined and discussed below (the

 “Master Loan Agreement”). Evidentiary Submission, Ex. 5.

              31. The First December 19 Term Loan is evidenced by that certain

 Promissory Note dated December 19, 2018 payable by Recleim and Recleim OH

 to the order of Fifth Third in the maximum principal amount of $1,210,377.29 (the

 “First December 19 Note”). Evidentiary Submission, Ex. 6.

              32. The Second December 19 Term Loan is evidenced by that certain

 Promissory Note dated December 19, 2018 payable by Recleim and Recleim PA

 to the order of Fifth Third in the maximum principal amount of $2,644,067.29 (the

 “Second December 19 Note”). Evidentiary Submission, Ex. 7.


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              33. The Third December 19 Term Loan is evidenced by that certain

 Promissory Note dated December 19, 2018 payable by Recleim and Recleim SC

 to the order of Fifth Third in the maximum principal amount of $6,347,824.00 (the

 “Third December 19 Note” and together with the First December 19 Note and

 the Second December 19 Note, collectively, the “Term Notes” and together with

 Revolving Note, the “Notes”). Evidentiary Submission, Ex. 8.

              34. The Term Notes are secured by the Master Security Agreement (the

 "Master Security Agreement" together with Revolving Security Agreement, the

 "Security Agreements") which grants Lender a first position security interest and

 lien in and to all of Borrowers' equipment (including without limitation, all

 inventory, equipment, fixtures, or other property comprising the same), and general

 intangibles relating thereto; any and all Rate Management Obligations; all

 subleases, chattel paper, accounts, security deposits and bills of sale relating

 thereto; any and all substitutions, replacements or exchanges for any such

 Equipment or other collateral; and any other property or assets in which Borrower

 may have in the past or shall have in the future granted a security interest (as more

 particularly described in the Master Loan and Security Agreement, the "May

 Personal Property Collateral" and together with the December Personal Property

 Collateral, the "Collateral").


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              35. The Term Notes and the Master Loan Agreement are hereinafter

 referred to as the “Term Loan Documents”).

D.        The Guaranties

              36. The Notes are jointly and severally guaranteed by that certain

 Continuing Guaranty Agreement dated December 20, 2018 executed by Recleim

 SC (the “Recleim SC Guaranty”), that certain Continuing Guaranty Agreement

 dated December 20, 2018 executed by Recleim PA (the “Recleim PA

 Guaranty”), and that certain Continuing Guaranty Agreement dated December

 20, 2018 executed by Recleim OH (the “Recleim PA Guaranty,” together with

 the Recleim SC Guaranty and the Recleim PA Guaranty, collectively, the

 “December 20, 2018 Guaranty Agreements”). Evidentiary Submission, Exs. 9-

 11.

              37. Pursuant to the December 20, 2018 Guaranty Agreements, each of

 Recleim PA, Recleim OH and Recleim SC unconditionally, absolutely, and

 irrevocably guaranteed the obligations of Recleim to Fifth Third.

              38. The Notes are further jointly and severally guaranteed by that certain

 Continuing Guaranty Agreement dated May 3, 2018 executed by Peachtree

 Investment (the “Peachtree Investment Guaranty”), that certain Continuing

 Guaranty Agreement dated May 3, 2018 executed by Davis (the “Davis


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 Guaranty”), and that certain Continuing Guaranty Agreement dated May 3, 2018

 executed by Bush (the “Bush Guaranty” and together, collectively, the “May 3

 2018 Guaranty Agreements,” together with the December 20, 2018 Guaranty

 Agreements, the “Guaranty Agreements”). Evidentiary Submission, Exs. 12-14.

              39. Pursuant to the May 3, 2018 Guaranty Agreements, Peachtree

 Investment, Davis and Bush unconditionally, absolutely, and irrevocably

 guaranteed the obligations of Recleim, Recleim Nova, and Recleim Logistics to

 Fifth Third Bank.

E.        UCC Filings

              40. Appropriate financing statements covering and perfecting Fifth

 Third’s security interest and lien in and to the personal property collateral are also

 filed with the various filing offices (the "UCC Financing Statements").

 Evidentiary Submission, Ex 15.

 F.       Default and Forbearances

              41. On September 17, 2019, Fifth Third sent Defendants that certain

 Notice of Default, Acceleration and Demand for Repayment of Indebtedness, and

 Intent to Collect Attorney’s Fees Pursuant to O.C.G.A. § 13-1-11, declaring

 Defendants in default under the Loan Documents, as a result of, among other

 existing events of default, Defendant’s failure to comply with reporting


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 requirements and failure to comply with financial covenants, all as required under

 the Loan Documents. Evidentiary Submission, Ex. 16.

              42. On or about December 30, 2019, Defendants and Fifth Third entered

 into that certain Forbearance Agreement, under which Defendants agreed that the

 Notes are cross-defaulted, cross-guaranteed, and cross-collateralized and whereby

 they acknowledged that they were in default with respect to the Loan Documents

 (the “December 2019 Forbearance Agreement”). Pursuant to the December

 2019 Forbearance Agreement, Fifth Third agreed to forbear temporarily from

 exercising its rights and remedies under the Loan Documents, with respect to

 certain specified defaults during a time period that would end no later than March

 31, 2020 (the “December 2019 Forbearance Termination Date"). Evidentiary

 Submission, Ex. 17.

          43.      Defendants defaulted under the terms of the December 2019

Forbearance Agreement.

          44.      On February 18, 2020, Fifth Third sent Defendants that certain Notice

of Forbearance Termination Events letter pursuant to which Fifth Third notified

Defendants that a Forbearance Termination Event occurred and existed under the

December 2019 Forbearance Agreement, due to, inter alia, their failure to make

payments as and when due and by virtue of their failure to perform other non-


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monetary obligations owed to Fifth Third under the December 2019 Forbearance

Agreement. Evidentiary Submission, Ex. 18.

              45. On or about March 31, 2020, the December 2019 Forbearance

 Agreement was amended and modified by that certain First Amendment to

 Forbearance Agreement (the “March 2020 Forbearance Agreement”, and

 together with the December 2019 Forbearance agreement, the “Forbearance

 Agreement”). Again, Defendants acknowledged that they were then in default

 with respect to the Loan Documents and Fifth Third agreed to forbear temporarily

 from exercising its rights and remedies under the Loan Documents, with respect to

 certain specified defaults during a time period that would end no later than July

 31, 2020 (the "March 2020 Forbearance Termination Date"). Evidentiary

 Submission, Ex. 19.

              46. The Forbearance Agreement along with the Guaranty Agreements,

 Revolving Loan Documents, and Term Loan Documents are referred to herein as

 the "Loan Documents".

              47. Defendants defaulted under the terms of the March 2020 Forbearance

 Agreement.

              48. On April 23, 2020, Fifth Third sent Defendants that certain Notice of

 Forbearance Termination Event and Reservation of Rights letter pursuant to which


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 Fifth Third notified Defendants that a Forbearance Termination Event occurred

 and existed under the Forbearance Agreement, due to, inter alia, their failure to

 again make payments as and when due and their continued failure to perform other

 non-monetary obligations owed to Fifth Third under the Forbearance Agreement

 (the “April 23 Notice of Default”). Evidentiary Submission, Ex. 20.

              49. Despite the April 23 Notice of Default and Fifth Third’s demands,

 Defendants failed to cure the defaults under the Forbearance Agreement and Loan

 Documents.

              50. On May 5, 2020, Fifth Third sent Defendants that certain Notice of

 Default, Acceleration and Demand for Repayment of Indebtedness, and Intent to

 Collect Attorney’s Fees Pursuant to O.C.G.A. § 13-1-11, again notifying

 Defendants that a Forbearance Termination Event occurred and existed under the

 Forbearance Agreement, due to, inter alia, Defendants’ failure to perform all of its

 obligations owed to Fifth Third under the Forbearance Agreement and Loan

 Documents and demanding payment in full of all amounts owing under the Notes

 (the “May 5 Notice of Default”). Evidentiary Submission, Ex. 21.

              51. Despite the May 5 Notice of Default, Defendants failed to cure the

 defaults under the Loan Documents or otherwise pay the amounts due and owing

 under the Notes.


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              52. On July 20, 2020, Fifth Third sent Defendants that certain Notice of

 Forbearance Termination Event, Acceleration and Demand for Repayment of

 Indebtedness, and Intent to Collect Attorneys' Fees letter, pursuant to which Fifth

 Third again notified Defendants that a Forbearance Termination Event occurred

 and existed under the Forbearance Agreement, due to, inter alia, Defendants’

 failure to perform all of their obligations owed to Fifth Third under the

 Forbearance Agreement, including, without limitation, the failure to pay timely all

 amounts due and owing under the Forbearance Agreement (each a Forbearance

 Termination Event)(the “July 20 Notice of Default”). Evidentiary Submission,

 Ex. 22.

              53. Specifically, as set forth in the July 20 Notice of Default, Defendants

 had not, among other things, made (i) the June, 2020 payment of accrued and

 unpaid interest due under the Revolving Note, (ii) the July 15, 2020 payment of

 accrued and unpaid interest due under the Revolving Note, (iii) the June, 2020

 payment of accrued and unpaid interest due under the Term Notes. Further,

 Defendants were also in default under the Forbearance Agreement and Loan

 Documents by virtue of their failure to perform various non-monetary obligations

 owed to Lender under the Forbearance Agreement.




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              54. Despite the July 20 Notice of Default, Defendants failed to cure the

 defaults under the Loan Documents or otherwise pay the amounts due and owing

 under the Notes.

              55. This was the last Forbearance Agreement amendment between the

 parties.         The parties continued to negotiate other agreements, but these

 negotiations were unsuccessful.

              56. By August, 2020, Fifth Third determined that it was necessary for an

 outside, third-party Chief Restructuring Officer (“CRO”) to evaluate the

 Company’s current business model, financials, and profitability as well as operate

 the Company efficiently in order to determine the best avenue for repayment of

 the Loans in full to Fifth Third.

              57. By letter dated August 7, 2020, Fifth Third demanded that Defendants

 delegate, effective no later than August 14, 2020 and on a going-forward basis,

 sole and exclusive management, control, and decision-making authority for and

 on behalf of the Company to a CRO. Evidentiary Submission, Ex. 23.

              58. Due to an unwillingness to cede control to a CRO, on or about August

 27, 2020, Michael Fuqua, Sr. Managing Director of GlassRatner, a B. Riley

 Financial Company, was engaged to act as financial advisor to the Company.

 During Mr. Fuqua’s engagement, the Company has never provided the control and


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 authority to him to act as a CRO in order to allow him to manage and direct the

 Company’s business affairs, and to otherwise engage in the restructuring of debt

 or the sale of the Company, as would be necessary in this situation.

              59. The Defendants thus remain in continuing and substantial default in

 several regards with respect to the Loan Documents. First, Defendants have failed

 to pay the amounts owing under the Loan Documents when due.                  Second,

 Defendants have failed to comply with their reporting requirements under Loan

 Documents. Third, Defendants have failed to honor their financial covenants

 under the Loan Documents. All of these failures constitute events of default, as

 defined in the Loan Documents (the "Defaults").

              60. The Defaults are continuing and have not been cured by Defendants.

              61. As stated above, the Loans are cross-defaulted. Accordingly, each of

 the above-referenced Defaults constitutes an event of default under the other Loan

 Documents.

              62. The amount outstanding under the Revolving Note as of January 7,

 2021, exclusive of expenses of collection, attorneys’ fees, and the costs of this

 action, is not less than $4,946,941.16, consisting of principal in the amount of

 $4,710,247.31 plus accrued and outstanding interest in the amount of

 $185,334.55, plus late fees in the amount of $1,359.30, plus other fees in the


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 amount of $50,000. Interest accrues daily at the default rate provided in the Loan

 Documents. Attorneys’ fees and other costs of collection also continue to accrue.

              63. The amount outstanding under the First December 19 Note as of

 January 7, 2021, exclusive of expenses of collection, attorneys’ fees, and the costs

 of this action, is not less than $1,175,938.93, consisting of principal in the amount

 of $1,068,364.58 plus accrued and outstanding interest in the amount of

 $53,354.13, plus late fees in the amount of $54,220.22. Interest accrues daily at

 the default rate provided in the Loan Documents. Attorneys’ fees and other costs

 of collection also continue to accrue.

              64. The amount outstanding under the Second December 19 Note as of

 January 7, 2021, exclusive of expenses of collection, attorneys’ fees, and the costs

 of this action, is not less than $2,744,584.66, consisting of principal in the amount

 of $2,335,592.83, plus accrued and outstanding interest in the amount of

 $116,639.50, plus late fees in the amount of $292,352.33. Interest accrues daily

 at the default rate provided in the Loan Documents. Attorneys’ fees and other

 costs of collection also continue to accrue.

              65. The amount outstanding under the Third December 19 Note as of

 January 7, 2021, exclusive of expenses of collection, attorneys’ fees, and the costs

 of this action, is not less than $5,995,247.05, consisting of principal in the amount


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 of $5,598,860.32 plus accrued and outstanding interest in the amount of

 $279,607.09, plus late fees in the amount of $116,779.64. Interest accrues daily

 at the default rate provided in the Loan Documents. Attorneys’ fees and other

 costs of collection also continue to accrue.

              66. The principal amounts due, the unpaid interest, attorneys' fees and

 costs of collection are hereinafter collectively referred to as the "Outstanding

 Indebtedness."

     IV. FIFTH THIRD’S REMEDIES UNDER THE LOAN DOCUMENTS

              67. Fifth Third and its attorneys have had numerous conversations and

 communications with Defendants and their attorneys in an attempt to resolve their

 differences. The Company made it clear during these discussions that, despite the

 maturity of the various loans and Fifth Third’s requests for payment, they are

 presently unwilling to pay the Outstanding Indebtedness. Those discussions have

 not resulted in an agreement.

              68. The Defaults entitle Fifth Third to exercise other rights and remedies

 under the Loan Documents, including the right to the appointment of a receiver.

              69. Under the Revolver Loan Agreement, Recleim expressly and

 unequivocally agreed to the appointment of a receiver upon default, without prior

 notice. Section 7.2 of the Revolving Loan Agreement provides that:


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              Remedies upon Default. Upon the occurrence of any Event of Default,
              Lender shall take such action or actions as Lender may direct, at Lender's
              option and in its absolute discretion, including, but not limited to, any or all
              of the following actions:

              ….
              (c) In its own right or by a court-appointed receiver, take possession of the
              Collateral . . .

              Evidentiary Submission, Ex. 1.

              70. As stated above, Defendants are in substantial and continuing

 payment and covenant default to Fifth Third for the Outstanding Indebtedness.

                              V. THE NEED FOR A RECEIVER

              71. Fifth Third has the right under the Loan Documents and applicable

 law to take possession of the Collateral (all assets of the Company) and effectively

 cease the Company’s operations. However, Fifth Third prefers not to take this

 self-help action because it would eliminate the going concern value of the

 Company, which would result in a diminution in the value of Fifth Third’s

 Collateral.

              72. Moreover, the Company’s operations would likely have already been

 closed and its cash flow extinguished, but for Fifth Third’s repeated cooperation

 and forbearances over the past year.




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              73. Fifth Third wants the recycling facilities to continue to operate to

 allow the debt to Fifth Third to be repaid. At present, the Company’s financial

 condition is unstable and untenable.

              74. It is apparent that the Collateral (which is essentially all of the assets

 of the Company) have been mismanaged, resulting in injury to, and waste of, the

 Collateral. In order for the Collateral to remain viable and sustain its value, a

 receiver is necessary to manage the facilities, which utilize the Collateral.

 Additionally, a receiver is needed to market the Collateral for a potential sale or

 sales to maximize the value of the Collateral as a going concern. Without a

 receiver to oversee the Collateral, the Company’s financial inability to fulfill its

 responsibilities will continue to negatively impact the viability of the value of the

 Collateral to the detriment of Fifth Third and others. The full extent of the

 problems will likely not be discovered until the receiver is granted full access to

 the Collateral.

              75. Without a receiver to manage the Collateral, Fifth Third will continue

 to suffer substantial damages as the Collateral will decline in value.

              76. The Collateral has earnings potential, but a receiver is necessary to

 stop the further deterioration of the value of the Collateral and to turn around the

 Company’s financial condition.


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              77. The highest and best value of the Collateral appears to be as a going

 concern.

              78. Defendants are and remain unable to cure the substantial and

 continuing Defaults to Fifth Third and others.

              79. Accordingly, it is imperative that the receiver have authority and

 control of all of the aspects of the Collateral in order to fully preserve the going

 concern value of the Company and the Collateral, and Fifth Third’s rights under

 the Loan Documents.

                    COUNT ONE: BREACH OF PROMISSORY NOTE
                               REVOLVING NOTE
                            (AGAINST RECLEIM, LLC)
              80. Fifth Third incorporates and realleges the preceding paragraphs as if

 fully set forth herein.

              81. Recleim is in default on its obligations to Fifth Third to pay in full all

 amounts due and owing under the Revolving Note, including interest, attorneys’

 fees and costs, and all other charges thereunder.

              82. Recleim has further failed to comply with certain financial covenants

 as required under the terms of the Loan Documents.

              83. Recleim is liable to Fifth Third under the Revolving Note as of

 January 7, 2021, exclusive of expenses of collection, attorneys’ fees, and the costs



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 of this action, in an amount not less than $4,946,941.16, consisting of principal in

 the amount of $4,710,247.31 plus accrued and outstanding interest in the amount

 of $185,334.55, plus late fees in the amount of $1,359.30, plus other fees in the

 amount of $50,000, with additional interest to accrue daily at the default rate

 provided in the Revolving Note until the date of judgment, and statutory attorneys'

 fees, pursuant to O.C.G.A. § 13-1-11.

          WHEREFORE, Fifth Third demands judgment against Recleim for the

outstanding indebtedness owing under the Revolving Note and costs, as well as

such other, further, and different relief to which Fifth Third may be entitled and is

just and proper in this action.

         COUNT TWO: BREACH OF BREACH OF PROMISSORY NOTE
                      FIRST DECEMBER 19 NOTE
            (AGAINST RECLEIM, LLC AND RECLEIM OH, LLC)

              84. Fifth Third incorporates and realleges the preceding paragraphs as if

 fully set forth herein.

              85. Recleim and Recleim OH are in default on their obligations to Fifth

 Third to pay in full all amounts due and owing under the December 19 Note,

 including interest, attorneys’ fees and costs, and all other charges thereunder.

              86. Recleim and Recleim OH have further failed to comply with certain

 financial covenants as required under the terms of the Loan Documents.


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              87. Recleim and Recleim OH are liable to Fifth Third under the First

 December 19 Note as of January 7, 2021, exclusive of expenses of collection,

 attorneys’ fees, and the costs of this action, is an amount not less than

 $1,175,938.93, consisting of principal in the amount of $1,068,364.58 plus

 accrued and outstanding interest in the amount of $53,354.13, plus late fees in the

 amount of $54,220.22, plus additional interest to accrue daily at the default rate

 provided in the First December 19 Note until the date of judgment, and statutory

 attorneys' fees, pursuant to O.C.G.A. § 13-1-11.

          WHEREFORE, Fifth Third demands judgment against Recleim and

Recleim OH for the outstanding indebtedness owing under the First December 19

Note and costs, as well as such other, further, and different relief to which Fifth

Third may be entitled and is just and proper in this action

                 COUNT THREE: BREACH OF PROMISSORY NOTE
                         SECOND DECEMBER 19 NOTE
                 (AGAINST RECLEIM, LLC AND RECLEIM PA, LLC)

              88. Fifth Third incorporates and realleges the preceding paragraphs as if

 fully set forth herein.

              89. Recleim and Recleim PA are in default on their obligations to Fifth

 Third to pay in full all amounts due and owing under the Second December 19




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 Note, including interest, attorneys’ fees and costs, and all other charges

 thereunder.

              90. Recleim and Recleim PA have further failed to comply with certain

 financial covenants as required under the terms of the Loan Documents.

              91. Recleim and Recleim PA are liable to Fifth Third under the Second

 December 19 Note as of January 7, 2021, exclusive of expenses of collection,

 attorneys’ fees, and the costs of this action, in an amount not less than

 $2,744,584.66, consisting of principal in the amount of $2,335,592.83 plus

 accrued and outstanding interest in the amount of $116,639.50, plus late fees in

 the amount of $292,352.33, plus additional interest to accrue daily at the default

 rate provided in the Second December 19 Note, and statutory attorneys' fees,

 pursuant to O.C.G.A. § 13-1-11.

          WHEREFORE, Fifth Third demands judgment against Recleim and

Recleim PA for the outstanding indebtedness owing under the Second December

19 Note and costs, as well as such other, further, and different relief to which Fifth

Third may be entitled and is just and proper in this action

                   COUNT FOUR: BREACH OF PROMISSORY NOTE
                           THIRD DECEMBER 19 NOTE
                  (AGAINST RECLEIM, LLC AND RECLEIM SC LLC)




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              92. Fifth Third incorporates and realleges the preceding paragraphs as if

 fully set forth herein.

              93. Recleim and Recleim SC are in default on their obligations to Fifth

 Third to pay in full all amounts due and owing under the Third December 19

 Note, including interest, attorneys’ fees and costs, and all other charges

 thereunder.

              94. Recleim and Recleim SC have further failed to comply with certain

 financial covenants as required under the terms of the Loan Documents.

              95. Recleim and Recleim SC are liable to Fifth Third under the Third

 December 19 Note as of January 7, 2021, exclusive of expenses of collection,

 attorneys’ fees, and the costs of this action, in an amount not less than

 $5,995,247.05, consisting of principal in the amount of $5,598,860.32 plus

 accrued and outstanding interest in the amount of $279,607.09, plus late fees in

 the amount of $116,779.64, plus additional interest to accrue daily at the default

 rate provided in the Third December 19 Note, and statutory attorneys' fees,

 pursuant to O.C.G.A. § 13-1-11.

          WHEREFORE, Fifth Third demands judgment against Recleim and

Recleim SC for the outstanding indebtedness owing under the Third December 19




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Note and costs, as well as such other, further, and different relief to which Fifth

Third may be entitled and is just and proper in this action

                     COUNT FIVE: BREACH OF GUARANTY
                     PEACHTREE INVESTMENT GUARANTY
              (AGAINST PEACHTREE INVESTMENT SOLUTIONS, LLC)

              96. Fifth Third Bank incorporates and realleges the preceding paragraphs

 as if fully set forth herein.

              97. Peachtree Investment is in default under the Peachtree Investment

 Guaranty by virtue of its failure to perform all of its obligations owed to Fifth

 Third, including, without limitation, the failure to pay all amounts owing under

 the Notes as and when due.

              98. Peachtree Investment is liable to Fifth Third for the Outstanding

 Indebtedness, with additional interest to accrue at the default rate set forth in the

 Notes until the date of judgment, and statutory attorneys' fees, pursuant to

 O.C.G.A. § 13-1-11.

          WHEREFORE, Fifth Third demands judgment against Peachtree

Investment for the Outstanding Indebtedness owing under the Notes, as well as

such other, further, and different relief to which Fifth Third may be entitled and is

just and proper in this action.




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                         COUNT SIX: BREACH OF GUARANTY
                                 BUSH GUARANTY
                           (AGAINST JON STEPHEN BUSH)

              99. Fifth Third Bank incorporates and realleges the preceding paragraphs

 as if fully set forth herein.

              100. Bush is in default under the Bush Guaranty by virtue of his failure to

 perform all of its obligations owed to Fifth Third, including, without limitation,

 the failure to pay all amounts owing under the Notes as and when due.

              101. Bush is liable to Fifth Third under the Bush Guaranty for the

 Outstanding Indebtedness, with additional interest to accrue at the default rate set

 forth in the Notes until the date of judgment, and statutory attorneys' fees,

 pursuant to O.C.G.A. § 13-1-11.

          WHEREFORE, Fifth Third demands judgment against Bush for the

Outstanding Indebtedness owing under the Notes, as well as such other, further,

and different relief to which Fifth Third may be entitled and is just and proper in

this action

                       COUNT SEVEN: BREACH OF GUARANTY
                                DAVIS GUARANTY
                        (AGAINST DWAYNE PETERSON DAVIS)

              102. Fifth Third Bank incorporates and realleges the preceding paragraphs

 as if fully set forth herein.


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              103. Davis is in default under the Davis Guaranty by virtue of his failure to

 perform all of its obligations owed to Fifth Third, including, without limitation,

 the failure to pay all amounts owing under the Notes as and when due.

              104. Davis is liable to Fifth Third under the Davis Guaranty for the

 Outstanding Indebtedness, with additional interest to accrue at the default rate set

 forth in the Notes until the date of judgment, and statutory attorneys’ fees,

 pursuant to O.C.G.A. § 13-1-11.

              WHEREFORE, Fifth Third demands judgment against Davis for the

Outstanding Indebtedness owing under the Notes, as well as such other, further,

and different relief to which Fifth Third may be entitled and is just and proper in

this action.

                       COUNT EIGHT: BREACH OF GUARANTY
                             RECLEIM OH GUARANTY
                           (AGAINST RECLEIM OH, LLC)

              105. Fifth Third Bank incorporates and realleges the preceding paragraphs

 as if fully set forth herein.

              106. Recleim OH is in default under the Recleim OH Guaranty by virtue of

 its failure to perform all of its obligations owed to Fifth Third, including, without

 limitation, the failure to pay all amounts owing under the Notes as and when due.




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              107. Recleim OH is liable to Fifth Third under the Recleim OH Guaranty

 for the Outstanding Indebtedness, with additional interest to accrue at the default

 rate set forth in the Notes until the date of judgment, and statutory attorneys’ fees,

 pursuant to O.C.G.A. § 13-1-11.

              WHEREFORE, Fifth Third demands judgment against Recleim OH for

the Outstanding Indebtedness owing under the Notes, as well as such other, further,

and different relief to which Fifth Third may be entitled and is just and proper in

this action.

                        COUNT NINE: BREACH OF GUARANTY
                             RECLEIM PA GUARANTY
                           (AGAINST RECLEIM PA, LLC)

              108. Fifth Third Bank incorporates and realleges the preceding paragraphs

 as if fully set forth herein.

              109. Recleim PA is in default under the Recleim PA Guaranty by virtue of

 its failure to perform all of its obligations owed to Fifth Third, including, without

 limitation, the failure to pay all amounts owing under the Notes as and when due.

              110. Recleim PA is liable to Fifth Third under the Recleim PA Guaranty

 for the Outstanding Indebtedness, with additional interest to accrue at the default

 rate set forth in the Notes until the date of judgment, and statutory attorneys’ fees,

 pursuant to O.C.G.A. § 13-1-11.


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              WHEREFORE, Fifth Third demands judgment against Recleim PA for the

Outstanding Indebtedness owing under the Notes, as well as such other, further,

and different relief to which Fifth Third may be entitled and is just and proper in

this action.

                        COUNT TEN: BREACH OF GUARANTY
                             RECLEIM SC GUARANTY
                           (AGAINST RECLEIM SC LLC)

              111. Fifth Third Bank incorporates and realleges the preceding paragraphs

 as if fully set forth herein.

              112. Recleim SC is in default under the Recleim SC Guaranty by virtue of

 its failure to perform all of its obligations owed to Fifth Third, including, without

 limitation, the failure to pay all amounts owing under the Notes as and when due.

              113. Recleim SC is liable to Fifth Third under the Recleim SC Guaranty

 for the Outstanding Indebtedness, with additional interest to accrue at the default

 rate set forth in the Notes until the date of judgment, and statutory attorneys’ fees,

 pursuant to O.C.G.A. § 13-1-11.

              WHEREFORE, Fifth Third demands judgment against Recleim SC for the

Outstanding Indebtedness owing under the Notes, as well as such other, further,

and different relief to which Fifth Third may be entitled and is just and proper in

this action.


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                COUNT ELEVEN: ATTORNEYS' FEES AND EXPENSES
                         (AGAINST ALL DEFENDANTS)

              114. Fifth Third Bank incorporates and realleges the preceding paragraphs

 as if fully set forth herein.

              115. The Loan Documents require the payment of all amounts for costs

 including attorneys' fees incurred in connection with any breach or default

 thereunder or incurred in order to enforce or interpret the terms or provisions of

 the Loan Documents. This includes Lender's costs of collection, including court

 costs and statutory attorneys' fees pursuant to O.C.G.A. §13-1-11.

              116. Pursuant to O.C.G.A. §13-1-11, Defendants were given proper notice

 that they had ten (10) days from receipt of the notice to pay the entire principal

 balance outstanding on the Notes, together with all accrued and unpaid interest

 and late fees thereon to the date of payment by them, without the payment of such

 attorneys' fees. Defendants failed to pay such outstanding amounts and Plaintiff is

 now entitled to recover fifteen percent of the first $500 of outstanding principal

 plus accrued interest and 10 percent of remaining outstanding principal and

 accrued interest as attorneys' fees. O.C.G.A. §13-1-11.

              117. In addition, as described herein, Defendants have been stubborn and

 litigious and have caused Plaintiff unnecessary trouble and expense entitling



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 Plaintiff to recover its attorneys' fees and expenses actually incurred pursuant to

 O.C.G.A. § 13-6-11.

              WHEREFORE, Fifth Third demands judgment against Defendants for

attorneys' fees and expenses actually incurred pursuant to O.C.G.A. § 13-6-11, as

well as such other, further, and different relief to which Fifth Third may be entitled

and is just and proper in this action.

    COUNT TWELVE: APPOINTMENT OF RECEIVER IN EQUITY
     (AGAINST DEFENDANTS RECLEIM LLC, RECLEIM NOVA, LLC,
  RECLEIM LOGISTICS, LLC, RECLEIM OH, LLC, RECLEIM PA, LLC,
                      RECLEIM SC LLC)

              118. Fifth Third incorporates and realleges all preceding paragraphs as if

 fully set forth herein.

              119. In addition to Fifth Third’s express contractual right to the

 appointment of a receiver at law, there are additional equitable considerations,

 which support the appointment of a receiver in equity to manage and operate the

 Collateral. In light of the Defendants' ongoing payment default, it is clear that the

 Defendants do not have sufficient funds to pay the amounts due and owing under

 the Notes. Accordingly, if the Collateral is not preserved, Fifth Third and all other

 creditors of the Defendants will be left with no adequate legal remedy to redress

 the harm arising from the Defendants' breach of the Loan Documents.                The



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 potential harm to Fifth Third, as well as other creditors, outweighs any

 conceivable harm to the Defendants.

              120. Fifth Third offers to do equity.

              121. In the event Fifth Third is not entitled to the appointment of a receiver

 as a legal remedy, then Fifth Third would have no adequate remedy at law.

          WHEREFORE, Fifth Third demands judgment against the Defendants

Recleim, Recleim Nova, Recleim Logistics, Recleim OH, Recleim PA and

Recleim SC for the appointment of a receiver in equity, under terms substantially

similar to those in the proposed order attached to the Motion for Receiver filed

substantially contemporaneously herewith, as well as such other, further, and

different relief to which Fifth Third may be entitled and is just and proper in this

action.

    COUNT THIRTEEN: APPOINTMENT OF A RECEIVER AT LAW
     (AGAINST DEFENDANTS RECLEIM LLC, RECLEIM NOVA, LLC,
  RECLEIM LOGISTICS, LLC, RECLEIM OH, LLC, RECLEIM PA, LLC,
                      RECLEIM SC LLC)

              122. Fifth Third incorporates and realleges all preceding paragraphs as if

 fully set forth herein.

              123. In addition to Fifth Third’s right to have a receiver appointed as a

 matter of equity, Fifth Third has the right to the appointment of a receiver at law

 through its contractual rights. Evidentiary Submission, Ex. 1.

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              124. The Defendants are in default on its obligations under the Loan

 Documents and multiple Events of Default (as defined in the Loan Documents)

 exists. Thus, Fifth Third is contractually entitled to the immediate appointment of

 a receiver.

          WHEREFORE, Fifth Third demands judgment against the Defendants

Recleim, Recleim Nova, Recleim Logistics, Recleim OH, Recleim PA and

Recleim SC for the appointment of a receiver at law, under terms substantially

similar to those in the proposed order attached to the Motion for Receiver filed

substantially contemporaneously herewith, as well as such other, further, and

different relief to which Fifth Third may be entitled and is just and proper in this

action.

          Respectfully submitted this 14th day of January, 2021.


                                                 /s/ Graham H. Stieglitz
                                                 Graham H. Stieglitz
                                                 Georgia Bar No. 682047
                                                 Valerie K. Richmond
                                                 Georgia Bar No. 142188

                                                 Attorneys for Plaintiff
                                                 FIFTH THIRD BANK,
                                                 NATIONAL ASSOCIATION,
                                                 f/k/a Fifth Third Bank




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OF COUNSEL:

BURR & FORMAN LLP
171 Seventeenth Street, N.W., Suite 1100
Atlanta, Georgia 30363
(404) 815-3000
Email: gstieglitz@burr.com; vrichmond@burr.com




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